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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

UNITED STATES OF AMERICA                              :
                                                      :
                 v.                                   : CRIMINAL ACTION NO.
                                                      : 1:13-CR-229-1-JEC-JSA
GABRIEL JIMENEZ-ANTUNEZ                               :
                                                      :

    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY 1


        The defendant, GABRIEL JIMENEZ-ANTUNEZ, by consent, has appeared

before the undersigned and has entered a plea of guilty to COUNTS ONE and

THREE of the indictment. After cautioning and examining the defendant under

oath concerning each of the subjects mentioned in Rule 11, the undersigned has

determined that the guilty plea was knowing and voluntary, and that the plea to the

offense charged is supported by an independent basis in fact establishing each of

the essential elements of such offense. The undersigned also determined that the

defendant has voluntarily and expressly waived the right to appeal her conviction

and sentence and the right to collaterally attack her conviction and sentence in any

post-conviction proceeding (including, but not limited to, motions filed pursuant to

28 U.S.C. § 2255) on any ground, except that the defendant may file a direct


        1
           Failure to file written objections to this Report and Recommendation within FOURTEEN (14) days after
service of a copy of this Report and Recommendation shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
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appeal of an upward departure or a variance from the sentencing guideline range as

calculated by the District Court, or if the Government initiates a direct appeal of

the sentence imposed, the defendant may file a cross-appeal of that same sentence.

The undersigned therefore RECOMMENDS that the plea of guilty be accepted

and that the defendant be adjudged guilty and have sentence imposed accordingly.


      SO ORDERED this 17th day of December, 2013


                                       ___________________________________
                                       JUSTIN S. ANAND
                                       UNITED STATES MAGISTRATE JUDGE




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